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      Fed. R. App. P. 4(b)(4) recites:

              Motion for Extension of Time. Upon a finding of
              excusable neglect or good cause, the district court
              may-before or after the time has expired, with or without
              motion and notice-extend the time to file a notice of
              appeal for a period not to exceed 30 days from the
              expiration of the time otherwise prescribed by this Rule
              4(b).

      ORDERED:

      1.      Mahone may have to and including August 7, 2020, in which to file a

request supported by reliable evidence of good cause or excusable neglect

justifying a conclusion by this Court that the time for Mahone to file an appeal in

this case be extended to and including July 7, 2020.

      2.      The Clerk is directed to serve this Order on Mahone at the following

address: Reg. No. 45425-424, FPC Alderson, Federal Prison Camp, Glen Ray Rd,

Box A, Alderson, WV 24910.

      DATED this 11._�ay of July, 2020.




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                                               United States District Judge


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